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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 06-cv-00605-PAB-KMT
          (Consolidated with Civil Action No. 16-cv-02004-PAB-KMT)

   Civil Action No. 06-cv-00605-PAB-KMT

   CROCS, INC.,

         Plaintiff,

   v.

   EFFERVESCENT, INC.;
   HOLEY SOLES HOLDINGS, LTD.;
   DOUBLE DIAMOND DISTRIBUTION, LTD., and
   U.S.A. DAWGS, INC.,

         Defendants.

   Civil Action No. 16-cv-02004-PAB-KMT

   U.S.A. DAWGS, INC. and
   DOUBLE DIAMOND DISTRIBUTION, LTD.,

         Plaintiffs,

   v.

   RONALD SNYDER,
   DANIEL HART,
   THOMAS J. SMACH,
   ANDREW REES,
   GREGG RIBATT
   ANDREW REDDYHOFF,
   GEORGE B. BOEDECKER, JR.,
   LYNDON HANSON,
   DONALD LOCOCO,
   RAYMOND CROGHAN,
   RONALD FRASCH,
   MICHAEL MARGOLIS,
   JEFFREY LASHER,


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   MICHAEL E. MARKS,
   PRAKASH MELWANI,
   JOHN P. MCCARVEL,
   ERIK REBICH,
   SARA HOVERSTOCK, and
   JOHN AND JANE DOE DEFENDANTS 1-30,

          Defendants.


                 JOINT STATUS REPORT REGARDING BANKRUPTCY STAY


          On March 19, 2018, the Court entered an order administratively closing the case in light

   of U.S.A. Dawgs, Inc. having filed a petition for chapter 11 bankruptcy in the District of Nevada.

   ECF No. 821. The Court ordered the parties to “file a status report within 30 days of any action

   that serves to lift the automatic stay in force as a result of the bankruptcy proceeding,” which

   “status report shall indicate what the action was, the purported impact, and how the party or

   parties intend to proceed in this case.” Id. at 4.

          On June 18, 2018, the Nevada bankruptcy court provided for the automatic stay in this

   matter to be lifted upon the occurrence of the earlier of two actions. In re: U.S.A. Dawgs, Inc.,

   No. BK-S-18-10453-LEB (D. Nev.), ECF No. 384 (“Order Lifting Stay,” attached hereto as

   Exhibit A). Namely, the Order Lifting Stay provided that “the automatic stay shall be, and
   hereby is, modified and lifted to permit continuation of the Colorado Litigation [defined as the

   present consolidated litigation], effective as of the earlier of (i) the date on which the Court

   enters an order confirming, or denying confirmation, of a plan of reorganization in this chapter

   11 case, and (ii) the date on which the Court enters an order approving, or declining to approve, a

   sale of the Debtor’s assets.” Id. at 1.

          The bankruptcy court did not enter an order confirming, or denying confirmation, of a

   plan of reorganization. Rather, U.S.A. Dawgs’s assets were sold following an auction on June



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   29, 2018. Then, on July 20, 2018, the Nevada bankruptcy court then entered an order approving

   the sale of U.S.A. Dawgs’s assets, including its affirmative litigation claims in this matter. In re:

   U.S.A. Dawgs, Inc., No. BK-S-18-10453-LEB (D. Nev.), ECF No. 553. As a result, the stay in

   this matter terminated on July 20, 2018.

   Proposal by Crocs, Inc. & Defendants in Case No. 16-cv-02004-PAB-KMT (“Snyder

   Defendants”).

           Despite U.S.A. Dawgs’s assets having been sold and the automatic stay in this matter
   having thereby been lifted, certain proceedings are ongoing in the Nevada bankruptcy court,

   including a motion concerning whether the bankruptcy court should dismiss the chapter 11

   proceeding or convert it to a chapter 7 liquidation. Further, the purchaser of U.S.A. Dawgs’s

   assets has indicated that it may sell the litigation claims to a third-party owned by James Mann,

   the brother of Steven and Barrie Mann, who manage and own majority interests in U.S.A. Dawgs

   and Double Diamond Distribution. However, whether such a transaction has been consummated

   has not been disclosed to Crocs or the Snyder Defendants. Thus, the identities of the real-

   parties-in-interest in this matter are not known, and it is not known what effect, if any, ongoing

   proceedings in the Nevada bankruptcy will have upon the resumption of litigation of this action.

           In light of these facts, Crocs and the Snyder Defendants believe that this case should

   remain administratively closed at present, subject to any party filing a motion to re-open the case

   upon the conclusion of all proceedings in the Nevada bankruptcy court and the identification of

   the real-parties-in-interest for claims previously held by U.S.A. Dawgs, Inc.

   Proposal by U.S.A. Dawgs, Inc. and Double Diamond Distribution, Ltd.
           U.S.A. Dawgs, Inc. and Double Diamond agree with Crocs’ proposal that the case should
   remain administratively closed at present, subject to any party filing a motion to re-open the
   case.
           U.S.A. Dawgs’ assets, including the litigation claims of this consolidated action, were
   sold at auction. The purchaser of U.S.A. Dawgs’ assets has indicated that it is in the process of

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   selling the litigation claims to a third-party, Mojave Desert Holdings LLC. However, that
   transaction has not been fully completed. The purchaser has indicated that the transaction is
   likely to be completed on or before September 30, 2018. Double Diamond anticipates that after
   completion of that transaction, it will substitute new counsel and present this Court with a motion
   to reopen.
          Based upon these facts, this consolidated action should remain administratively closed
   subject to any party filing a motion to re-open.


   Dated: August 17, 2018                        Respectfully submitted,

                                                 /s/ Sean M. Callagy
                                                 Sean M. Callagy
                                                 ARNOLD & PORTER KAYE SCHOLER LLP
                                                 Three Embarcadero Center, 10th Floor
                                                 San Francisco, CA 94111
                                                 Telephone:    415.471.3100
                                                 Facsimile:    415.471.3400
                                                 Sean.Callagy@arnoldporter.com

                                                 Attorney For Plaintiff Crocs, Inc. and Counterclaim
                                                 Defendants Ronald Snyder, Daniel Hart, Thomas J.
                                                 Smach, Andrew Rees, Gregg Ribatt, Lyndon
                                                 Hanson, Donald Lococo, Raymond Croghan,
                                                 Ronald Frasch, Michael Margolis, Jeffrey Lasher,
                                                 Michael E. Marks, Prakash Melwani, John P.
                                                 Mccarvel, Erik Rebich, Sara Hoverstock and
                                                 Andrew Reddyhoff

                                                 /s/ Christopher Hellmich
                                                 Christopher W. Hellmich
                                                 HELLMICH LAW GROUP, P.C.
                                                 5753-G E. Santa Ana Canyon Rd, Ste. 512
                                                 Anaheim Hills, California 92807
                                                 Telephone:     949.287.5708
                                                 chellmich@hellmichlaw.com

                                                 Attorney for USA Dawgs, Inc. and
                                                 Double Diamond Distribution, Ltd.



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                                    CERTIFICATE OF SERVICE

             The undersigned certifies that on the 17th day of August, 2018, the foregoing JOINT

   STATUS REPORT REGARDING BANKRUPTCY STAY was filed with the Clerk of the

   Court using the CM/ECF system, which will send notification of such filing to all counsel of

   record.

                                                 /s/ Sean M. Callagy
                                                 SEAN M. CALLAGY




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